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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




    CHANDLER WIBLE,                     CV 18-8502 DSF (PJWx)
         Plaintiff,
                                        Order to Show Cause re
                    v.                  Dismissal for Lack of Subject
                                        Matter Jurisdiction
    AMERIHOME MORTGAGE
    COMPANY, LLC,
          Defendant.



       Plaintiff’s complaint alleges diversity jurisdiction. However,
    the citizenship of one or more parties is not properly pleaded.
    Specifically, the citizenship of the LLC defendant is not pleaded
    properly. See Johnson v. Columbia Props. Anchorage, LP, 437
    F.3d 894, 899 (9th Cir. 2006) (limited liability company is a citizen
    of the states of which each of its members is a citizen). In
    addition, the complaint only alleges the residency of Plaintiff in
    Texas and notes that he formerly resided in California. Given the
    allegations in the complaint – that Plaintiff was wrongfully
    induced to relocate to Texas and then terminated – the Court
    cannot assume that Plaintiff intends to remain in Texas as would
    be required for him to be domiciled there.
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       Therefore, Plaintiff is ordered to show cause, in writing, no
    later than October 29, 2018, why this case should not be dismissed
    for lack of subject matter jurisdiction.

       IT IS SO ORDERED.


    Date: October 12, 2018                ___________________________
                                          Dale S. Fischer
                                          United States District Judge




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